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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO
                                 SOUTHERN DIVISION


 Wendy Hood,                                      Case No. 1:19 CV 386

                               Plaintiff,         REMAND ORDER
                -vs-
                                                  JUDGE JACK ZOUHARY
 Kathryn D. Beattie, M.D., et al.,

                               Defendants.



                                            INTRODUCTION

       Dr. Jacob Neufeld committed suicide in 2017 (Doc. 1-2 at ¶ 50). His widow, Plaintiff Wendy

Hood, sued his former employer and others in Idaho state court (Doc. 1-2). Defendants removed the

case to this Court (Doc. 1). Hood requests a remand, contending subject-matter jurisdiction is lacking

(Doc. 3). Defendants oppose (Docs. 8–9); Hood replies (Doc. 12). Briefing is complete.

                                              ANALYSIS

       Defendants invoke 28 U.S.C. § 1331, which grants federal courts jurisdiction over claims

“arising under” federal law (Doc. 1 at 2). A claim arises under federal law when (1) it is created by

federal law or (2) it raises a substantial federal issue. Gunn v. Minton, 568 U.S. 251, 257–58 (2013).

The removing party bears the burden to prove jurisdiction. Hunter v. Philip Morris USA, 582 F.3d

1039, 1042 (9th Cir. 2009). Doubt is resolved in favor of remand. Matheson v. Progressive Specialty

Ins. Co., 319 F.3d 1089, 1090 (9th Cir. 2003) (per curiam).

       The point of dispute is Hood’s sixth claim, which she titled “Wrongful Death and St. Luke’s

Violation of the [federal Family and Medical Leave Act (FMLA)]” (Doc. 1-2 at 19). For that claim,

the Complaint states that Neufeld’s employer -- St. Luke’s -- forced him to take FMLA leave and
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undergo unnecessary medical treatment (id. at ¶¶ 25–26). When the leave ended, St. Luke’s allegedly

violated the FMLA by preventing Neufeld from returning to work (id. at ¶ 42). According to the

Complaint, this FMLA violation caused Neufeld “to feel extreme devastation . . . . This devastation

was the direct and proximate cause of Dr. Neufeld impulsively committing suicide” (id. at ¶ 97). In

turn, Neufeld’s suicide “was the direct and proximate cause of [Hood] suffering physically,

emotionally, and financially” (id. at ¶ 98).

       This claim is not created by federal law. It is created by state law -- specifically, Idaho Code

Section 5-311 (Doc. 3-1 at 2). Section 5-311 provides that “[w]hen the death of a person is caused

by the wrongful act or neglect of another, his or her heirs or personal representatives on their behalf

may maintain an action for damages against the person causing the death.” To prevail, the heir or

personal representative must prove “(1) that an actionable wrong was committed by the defendant

against the decedent, and (2) that the same actionable wrong caused the decedent’s death.” Castorena

v. Gen. Elec., 238 P.3d 209, 219 (Idaho 2010). Here, the Complaint references the FMLA in an

attempt to satisfy that first prong. In other words, Hood asserts that violation of the FMLA was an

“actionable wrong” that caused Neufeld’s death, triggering liability under Section 5-311 (Doc. 3-1

at 2). Moreover, Hood requests compensation for her own suffering (Doc. 1-2 at ¶ 98). She does not

request actual monetary losses suffered by Neufeld, which is the only compensation available under

the FMLA. See 29 U.S.C. § 2617(a)(1); Farrell v. Tri-Cty. Metro. Transp. Dist. of Or., 530 F.3d

1023, 1025 (9th Cir. 2008). Simply put, this is a wrongful-death case, not an FMLA case.

       The claim does not raise a substantial federal issue, either. Substantial-federal-issue claims

are a “special and small category.” Gunn, 568 U.S. at 258 (citation omitted). A claim falls within

this category only if “a federal issue is: (1) necessarily raised, (2) actually disputed, (3) substantial,


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and (4) capable of resolution in federal court without disrupting the federal-state balance approved

by Congress.” Id. At least one of these four requirements is not met here: FMLA liability is not

necessarily raised. “When a claim can be supported by alternative and independent theories -- one

of which is a state law theory and one of which is a federal law theory -- federal question jurisdiction

does not attach because federal law is not a necessary element of the claim.” Nevada v. Bank of Am.,

672 F.3d 661, 675 (9th Cir. 2012) (citation omitted). Hood asserts alternative theories of relief under

the Idaho statute. For instance, in another claim she alleges that negligence of St. Luke’s was an

actionable wrong that caused Neufeld’s death (Doc. 1-2 at 14). A court could easily resolve Hood’s

lawsuit based on this negligence allegation, without even addressing the FMLA.

                                            CONCLUSION

       Hood does not assert a claim created by federal law. Nor does her Complaint raise a

substantial federal issue. This lawsuit therefore falls outside the jurisdiction of the federal courts.

Accordingly, the Motion for Remand (Doc. 3) is granted. Lacking subject-matter jurisdiction, this

Court declines to adjudicate the outstanding Motion to Dismiss (Doc. 5).

       IT IS SO ORDERED.

                                                          s/ Jack Zouhary
                                                       JACK ZOUHARY
                                                       U.S. DISTRICT JUDGE

                                                       February 25, 2020




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